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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                                                      Case No.: 1:15-cv-24547-UU
 LUIS A. ORTIZ, et al.,

         Plaintiffs,
 v.

 VALLEYCREST LANDSCAPE
 MAINTENANCE, INC.,

       Defendant.
 ________________________________

                                  ADMINISTRATIVE ORDER

         THIS CAUSE is before the Court sua sponte.

         THE COURT has reviewed the record and is otherwise fully advised in the premises. On

 March 24, 2016, Plaintiff filed a Notice of Settlement, D.E. 20, notifying the Court that the

 parties have reached a full settlement in this case. Accordingly, it is hereby

         ORDERED AND ADJUDGED that, for Administrative Purposes, this case is CLOSED.

 It is further

         ORDERED AND ADJUDGED that all pending motions are DENIED AS MOOT.

         DONE AND ORDERED in Chambers at Miami, Florida, this 25th day of March, 2016.

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                                               URSULA UNGARO
                                               UNITED STATES DISTRICT JUDGE
 copies provided: counsel of record
